Case 2:05-cV-02431-.]PI\/|-de Document 4 Filed 08/08/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT 'HLED ev --- D.C.
FOR TI-IE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

BUCKMAN LABORATORIES
INTERNATIONAL, INC.,

Plaintiff, No. 05-2431-Ml V

V.

JOSE PITA, JOSE SORIA, MARCO
QUOINONES, ERNESTO ESPINOZA, and
CESAR CANTU, individually, and
LABORATORIOS DE ANALYSIS
HORTFRUTICOLA Y SERVICIOUS
CONEXOS, S.A. DE C.V.

\-_/\_/\_/\_/\_/\_/\_/\_/\_/\._/\_/\_/\_/W\_/

Defendant.

 

ORDER APPOINTING INTERNATIONAL PROCESS SERVER

 

Pursuant to Chapter 1, Article 3 of the Convention on the Service Abroad of Judicial and
Extrajudicial Docmnents in Civil or Commercial Matters developed at the Tenth Session of the
Hague Conference on Private lnternational Law on 15 November, 1965 (the "Hague
Convention“), and for good cause shown, the Court hereby appoints Crowe Foreigri Services,
1020 SW Taylor Street, Suite 240, Portland, Oregon, 97205, and its agents, as the authority and
judicial officer competent under the Jurisdiction of this Court to forward to the Central Authority

in the applicable country, any and all documents to be Scrved in this case,

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IT ls so oRDERED this 154 day cf @¢Az_,w.)€' ,2005.

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This notice confirms a copy of the document docketed as number 4 in
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Sarn B. Blair

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

John B. Starnes

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

